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                 EXHIBIT 19
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SOURCE_BUSINESS_UNIT
        MEDIA_TYPE
                 ASSET_ID              EXIF_KEY          EXIF_VALUE
sstk    photo               1710670978 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1710670978 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1710670978 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1710670978 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk    photo               1710670978 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1710670978 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1710670984 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1710670984 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1710670984 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1710670984 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1710670984 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk    photo               1710670984 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1710672541 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1710672541 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk    photo               1710672541 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1710672541 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1710672541 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1710672541 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017193 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711017193 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711017193 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk    photo               1711017193 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017193 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017193 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017472 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017472 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711017472 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017472 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017472 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711017472 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk    photo               1711017556 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711017556 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017556 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711017556 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017556 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk    photo               1711017556 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017619 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017619 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017619 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017619 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711017619 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711017619 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk    photo               1711017739 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk    photo               1711017739 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017739 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017739 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017739 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711017739 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711017787 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017787 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017787 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711017787 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk    photo               1711017787 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711017787 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017856 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk    photo               1711017856 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017856 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017856 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711017856 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711017856 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711018087 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711018087 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711018087 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk    photo               1711018087 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711018087 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711018087 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711018561 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711018561 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711018561 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711018561 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk    photo               1711018561 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711018561 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711018621 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711018621 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711018621 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711018621 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711018621 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711018621 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk    photo               1711019611 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711019611 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711019611 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk    photo               1711019611 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711019611 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711019611 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711019917 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711019917 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711019917 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk    photo               1711019917 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711019917 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk    photo               1711019917 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
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sstk   photo        1711019953 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1711019953 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1711019953 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1711019953 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1711019953 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1711019953 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1711020013 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1711020013 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1711020013 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1711020013 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1711020013 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1711020013 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1711020061 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1711020061 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1711020061 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1711020061 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1711020061 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1711020061 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1711020643 Artist            MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1711020643 By-line           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1711020643 Rights            ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1711020643 Creator           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1711020643 Copyright         ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1711020643 CopyrightNotice   ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1711020970 Creator           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1711020970 Artist            MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1711020970 Copyright         ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1711020970 Rights            ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1711020970 By-line           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1711020970 CopyrightNotice   ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1711021084 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1711021084 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1711021084 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1711021084 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1711021084 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1711021084 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713211024 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713211024 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1713211024 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713211024 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713211024 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713211024 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713212086 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713212086 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1713212086 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713212086 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713212086 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713212086 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713213436 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713213436 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713213436 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713213436 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713213436 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713213436 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1713213481 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713213481 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713213481 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713213481 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713213481 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1713213481 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713214735 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713214735 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713214735 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1713214735 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713214735 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713214735 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713214798 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713214798 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713214798 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713214798 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713214798 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713214798 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1713215347 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713215347 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713215347 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713215347 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1713215347 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713215347 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713215377 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713215377 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713215377 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1713215377 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713215377 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713215377 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713215659 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713215659 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1713215659 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713215659 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713215659 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713215659 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713215779 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
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sstk   photo        1713215779 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713215779 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713215779 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713215779 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713215779 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713215890 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713215890 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713215890 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713215890 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1713215890 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713215890 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713216058 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1713216058 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713216058 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713216058 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713216058 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713216058 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713216406 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713216406 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1713216406 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713216406 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713216406 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713216406 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713218047 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713218047 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1713218047 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713218047 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713218047 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1713218047 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1713218149 Creator           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1713218149 Artist            MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1713218149 By-line           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1713218149 Rights            ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1713218149 Copyright         ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1713218149 CopyrightNotice   ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1713218545 Artist            MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1713218545 Copyright         ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1713218545 By-line           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1713218545 Rights            ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1713218545 CopyrightNotice   ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1713218545 Creator           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1714057666 Copyright         ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1714057666 By-line           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1714057666 Creator           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1714057666 Rights            ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1714057666 CopyrightNotice   ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1714057666 Artist            MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1714058947 Copyright         ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1714058947 Creator           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1714058947 Artist            MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1714058947 CopyrightNotice   ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1714058947 Rights            ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1714058947 By-line           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1714060999 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1714060999 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1714060999 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1714060999 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1714060999 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1714060999 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1714061035 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1714061035 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1714061035 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1714061035 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1714061035 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1714061035 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1714061365 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1714061365 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1714061365 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1714061365 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1714061365 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1714061365 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1714064383 SlicesGroupName   sony-a7r2-fine-art-bryce-canyon-hoo-doos-covered-in-snow-dr-elliot-mcgucken-winter-bryce-canyon-landscapes_23773062101_o
sstk   photo        1714064422 SlicesGroupName   sony-a7r2-fine-art-bryce-canyon-hoo-doos-covered-in-snow-dr-elliot-mcgucken-winter-bryce-canyon-landscapes_23850595225_o
sstk   photo        1714064497 SlicesGroupName   sony-a7r2-fine-art-bryce-canyon-hoo-doos-covered-in-snow-dr-elliot-mcgucken-winter-bryce-canyon-landscapes_23216251103_o
sstk   photo        1714064569 SlicesGroupName   sony-a7r2-fine-art-bryce-canyon-hoo-doos-covered-in-snow-dr-elliot-mcgucken-winter-bryce-canyon-landscapes_23855191165_o
sstk   photo        1715009980 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1715009980 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1715009980 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1715009980 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1715009980 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1715009980 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1715010091 Title             (C) 45SURF HERO'S ODYSSEY MYTHOLOGY DR. ELLIOT MCGUCKEN
sstk   photo        1715010091 UserComment       (C) 45SURF HERO'S ODYSSEY MYTHOLOGY DR. ELLIOT MCGUCKEN
sstk   photo        1715010091 CopyrightNotice   45SURF HERO'S ODYSSEY MYTHOLOGY DR. ELLIOT MCGUCKEN
sstk   photo        1715010091 ObjectName        (C) 45SURF HERO'S ODYSSEY MYTHOLOGY DR. ELLIOT MCGUCKEN
sstk   photo        1715010091 Rights            45SURF HERO'S ODYSSEY MYTHOLOGY DR. ELLIOT MCGUCKEN
sstk   photo        1715010091 Copyright         45SURF HERO'S ODYSSEY MYTHOLOGY DR. ELLIOT MCGUCKEN
sstk   photo        1715010091 Creator           45SURF HERO'S ODYSSEY MYTHOLOGY DR. ELLIOT MCGUCKEN
sstk   photo        1715010091 CaptionWriter     (C) 45SURF HERO'S ODYSSEY MYTHOLOGY DR. ELLIOT MCGUCKEN
sstk   photo        1715010091 UsageTerms        ALL RIGHTS RESERVED 45SURF HERO'S ODYSSEY MYTHOLOGY DR. ELLIOT MCGUCKEN
sstk   photo        1715010091 Headline          (C) 45SURF HERO'S ODYSSEY MYTHOLOGY DR. ELLIOT MCGUCKEN
               Case 1:22-cv-00905-JHR Document 140-1 Filed 10/13/23 Page 5 of 10


sstk   photo        1715010091 IntellectualGenre   (C) 45SURF HERO'S ODYSSEY MYTHOLOGY DR. ELLIOT MCGUCKEN
sstk   photo        1715010091 Artist              45SURF HERO'S ODYSSEY MYTHOLOGY DR. ELLIOT MCGUCKEN
sstk   photo        1715011723 CopyrightNotice     ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1715011723 Rights              ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1715011723 Artist              ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1715011723 Copyright           ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1715011723 By-line             ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1715011723 Creator             ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1715012812 By-line             MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1715012812 Rights              ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1715012812 Artist              MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1715012812 Creator             MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1715012812 Copyright           ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1715012812 CopyrightNotice     ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1715013694 Creator             ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1715013694 By-line             ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1715013694 Rights              ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1715013694 Copyright           ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1715013694 CopyrightNotice     ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1715013694 Artist              ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1715016298 SlicesGroupName     sony-a7r2-fine-art-bryce-canyon-hoo-doos-covered-in-snow-dr-elliot-mcgucken-winter-bryce-canyon-landscapes_23486684699_o
sstk   photo        1715016361 SlicesGroupName     sony-a7rii-bryce-canyon--zion-national-park-autumn-dr-elliot-mcgucken-fine-art-landscapes_23216011424_o
sstk   photo        1715017180 SlicesGroupName     sony-a7rii-bryce-canyon--zion-national-park-autumn-dr-elliot-mcgucken-fine-art-landscapes_23761297141_o
sstk   photo        1715018365 By-line             MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1715018365 Rights              ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1715018365 Artist              MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1715018365 CopyrightNotice     ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1715018365 Copyright           ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1715018365 Creator             MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1715018929 Artist              ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1715018929 CopyrightNotice     ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1715018929 By-line             ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1715018929 Rights              ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1715018929 Copyright           ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1715018929 Creator             ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1715019628 Artist              MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1715019628 Rights              ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1715019628 CopyrightNotice     ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1715019628 Copyright           ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1715019628 By-line             MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1715019628 Creator             MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1715019682 Artist              MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1715019682 By-line             MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1715019682 Creator             MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1715019682 Copyright           ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1715019682 Rights              ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1715019682 CopyrightNotice     ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1715020012 Artist              MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1715020012 Creator             MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1715020012 Rights              ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1715020012 By-line             MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1715020012 Copyright           ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1715020012 CopyrightNotice     ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1718042515 CopyrightNotice     ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1718042515 Creator             ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1718042515 Rights              ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1718042515 Copyright           ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1718042515 Artist              ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1718042515 By-line             ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1719860674 SlicesGroupName     sony-a7r2-fine-art-bryce-canyon-hoo-doos-covered-in-snow-dr-elliot-mcgucken-winter-bryce-canyon-landscapes_23851759845_o
sstk   photo        1719860716 SlicesGroupName     sony-a7rii-bryce-canyon--zion-national-park-autumn-dr-elliot-mcgucken-fine-art-landscapes_23843287865_o
sstk   photo        1721612500 Rights              ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1721612500 Artist              MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1721612500 CopyrightNotice     ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1721612500 By-line             MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1721612500 Copyright           ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1721612500 Creator             MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1727831710 SlicesGroupName     sony-a7r2-fine-art-bryce-canyon-hoo-doos-covered-in-snow-dr-elliot-mcgucken-winter-bryce-canyon-landscapes_23558544280_o
sstk   photo        1727831944 SlicesGroupName     sony-a7rii-bryce-canyon--zion-national-park-autumn-dr-elliot-mcgucken-fine-art-landscapes_23735067702_o
sstk   photo        1727833216 SlicesGroupName     sony-a7rii-bryce-canyon--zion-national-park-autumn-dr-elliot-mcgucken-fine-art-landscapes_23760888211_o
sstk   photo        1737626792 Copyright           ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1737626792 Artist              ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1737626792 By-line             ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1737626792 CopyrightNotice     ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1737626792 Rights              ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1737626792 Creator             ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1737654266 By-line             ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1737654266 Copyright           ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1737654266 Artist              ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1737654266 Rights              ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1737654266 Creator             ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1737654266 CopyrightNotice     ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1754304395 Creator             ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1754304395 Artist              ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1754304395 CopyrightNotice     ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1754304395 Rights              ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1754304395 By-line             ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1754304395 Copyright           ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1754312336 By-line             ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1754312336 Copyright           ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1754312336 Creator             ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
               Case 1:22-cv-00905-JHR Document 140-1 Filed 10/13/23 Page 6 of 10


sstk   photo        1754312336 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1754312336 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1754312336 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1757667809 By-line           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1757667809 Creator           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1757667809 CopyrightNotice   ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1757667809 Artist            MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1757667809 Rights            ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1757667809 Copyright         ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1760309024 Creator           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1760309024 Rights            ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1760309024 Copyright         ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1760309024 By-line           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1760309024 CopyrightNotice   ELLIOT MCGUCKEN 45SURF 45EPIC
sstk   photo        1760309024 Artist            MCGUCKEN DX4/DT=IC 45SURF 45EPIC
sstk   photo        1760309309 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1760309309 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1760309309 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1760309309 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1760309309 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1760309309 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1789522250 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1789522250 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1789522250 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1789522250 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1789522250 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1789522250 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1789523762 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1789523762 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1789523762 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1789523762 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1789523762 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1789523762 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1789525802 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1789525802 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1789525802 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1789525802 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1789525802 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1789525802 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1789535003 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1789535003 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1789535003 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1789535003 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1789535003 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1789535003 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1800091075 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1800091075 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1800091075 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1800091075 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1800091075 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1800091075 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1807143256 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1807143256 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1807143256 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1807143256 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1807143256 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1807143256 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1807143325 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1807143325 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1807143325 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1807143325 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1807143325 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1807143325 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1819938974 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1819938974 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1819938974 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1819938974 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1819938974 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1819938974 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1819942247 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1819942247 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1819942247 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1819942247 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1819942247 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1819942247 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1820264054 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1820264054 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1820264054 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1820264054 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1820264054 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1820264054 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1820577317 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1820577317 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1820577317 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1820577317 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1820577317 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1820577317 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1820579174 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1820579174 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1820579174 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1820579174 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
               Case 1:22-cv-00905-JHR Document 140-1 Filed 10/13/23 Page 7 of 10


sstk   photo        1820579174 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1820579174 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1821255746 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1821255746 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1821255746 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1821255746 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1821255746 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1821255746 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1823799296 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1823799296 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1823799296 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1823799296 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1823799296 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1823799296 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1823812445 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1823812445 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1823812445 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1823812445 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1823812445 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1823812445 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833136819 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833136819 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833136819 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833136819 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833136819 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1833136819 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833136825 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833136825 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1833136825 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833136825 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833136825 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833136825 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833136828 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833136828 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833136828 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833136828 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833136828 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1833136828 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138160 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138160 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1833138160 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138160 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138160 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138160 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138163 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138163 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138163 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1833138163 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138163 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138163 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138832 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138832 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138832 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138832 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138832 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1833138832 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138835 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138835 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1833138835 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138835 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138835 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833138835 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833139363 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833139363 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833139363 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833139363 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833139363 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1833139363 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833139900 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833139900 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833139900 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1833139900 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833139900 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833139900 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833139903 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833139903 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833139903 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833139903 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1833139903 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833139903 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833700612 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1833700612 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833700612 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833700612 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833700612 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833700612 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833703804 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833703804 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833703804 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833703804 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833703804 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
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sstk   photo        1833703804 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833721057 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1833721057 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833721057 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833721057 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833721057 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1833721057 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1844560012 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1844560012 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1844560012 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1844560012 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1844560012 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1844560012 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1844562190 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1844562190 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1844562190 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1844562190 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1844562190 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1844562190 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1844806123 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1844806123 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1844806123 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1844806123 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1844806123 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1844806123 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1844815954 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1844815954 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1844815954 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1844815954 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1844815954 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1844815954 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1844815966 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1844815966 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1844815966 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1844815966 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1844815966 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1844815966 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1844840332 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1844840332 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1844840332 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1844840332 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1844840332 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1844840332 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1844840356 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1844840356 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1844840356 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1844840356 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1844840356 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1844840356 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851038890 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1851038890 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851038890 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851038890 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851038890 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851038890 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851043501 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851043501 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851043501 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851043501 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1851043501 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851043501 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851259108 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1851259108 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851259108 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851259108 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851259108 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851259108 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851672244 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1851672244 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851672244 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851672244 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851672244 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1851672244 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1852462207 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1852462207 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1852462207 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1852462207 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1852462207 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1852462207 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1853122756 Rights            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1853122756 Artist            ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1853122756 By-line           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic
sstk   photo        1853122756 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1853122756 Copyright         ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1853122756 Creator           ELLIOT MCGUCKEN 45EPIC dx4/dt=ic 45SURF
sstk   photo        1856098123 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856098123 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1856098123 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098123 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098123 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098123 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
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sstk   photo        1856098126 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1856098126 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098126 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098126 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856098126 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856098126 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098129 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1856098129 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098129 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856098129 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098129 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856098129 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098132 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098132 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098132 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856098132 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098132 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856098132 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1856098135 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856098135 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098135 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098135 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098135 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1856098135 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856098138 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098138 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856098138 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1856098138 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856098138 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856098138 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856151445 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856151445 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856151445 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856151445 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856151445 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856151445 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1856151448 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856151448 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856151448 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856151448 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856151448 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856151448 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1856153803 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1856153803 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856153803 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856153803 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
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sstk   photo        1856153803 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856153806 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856153806 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856153806 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856153806 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856153806 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856153806 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
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sstk   photo        1856153812 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856153812 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
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sstk   photo        1856153815 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
sstk   photo        1856153815 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856153815 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
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sstk   photo        1856153818 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856153818 Copyright         ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856153818 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
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sstk   photo        1856153818 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856153818 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo        1856154721 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856154721 Rights            ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo        1856154721 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
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sstk   photo        1856154721 By-line           ELLIOT MCGUCKEN 45SURF 45EPIC dx
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sstk   photo        1856154727 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
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sstk   photo         1856155762 Creator           MCGUCKEN DX4/DT=IC 45SURF 45EPIC
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sstk   photo         1856158696 Creator           ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo         1856158696 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
sstk   photo         1856158696 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
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sstk   photo         1856163361 Artist            ELLIOT MCGUCKEN 45SURF 45EPIC dx4/dt=ic
sstk   photo         1856163361 CopyrightNotice   ELLIOT MCGUCKEN 45EPIC 45SURF dx4/dt=ic
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